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                                            3355
                                                                                             Michael Cukor

                                                                                        McGeary Cukor LLC
                                                                                      150 Morristown Road
                                                                                                   Suite 205
                                                                            Bernardsville, New Jersey 07924
                                                                Direct: (973) 339-7367 Fax: (973) 200-4845
                                                                                mcukor@mcgearycukor.com

                                                 March 10, 2025

    ZAGER FUCHS, P.C.
    Michael T. Warshaw,
    119 Avenue at the Commons
    Suite 4
    Shrewsbury, New Jersey 07702
    mwarshaw@zagerfuchs.com

    Ed Miller
    edmillerlaw@gmail.com

    RE:            Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                   Case No.: 2:18-cv-06296-ES-CLW

    Dear Michael and Ed:

    This letter is to address Mr. Miller’s recent email communications and to follow up on
    my March 5 letter.

    Mr. Miller sent an email on March 9 stating, in its entirety:

           It seems that there may be some questionable claims on Mr. Lanterman's resume
           starting with the "post-graduate" course at Harvard. Please confirm that the
           resume is accurate.

    Discovery has long been closed. Vision is determined to work with ACU to prepare for
    an orderly trial. Without an Order, Vision will not engage with ACU on new theories or
    new defenses that have not been part of the case and that seem to be focused on derailing
    the trial. We consider this issue resolved. If you disagree, please explain your legal basis
    for asking for more discovery now.

    Mr. Miller also sent an email on March 6 stating, in its entirety:

           Please include any responses from Plaintiff or Plaintiff's lawyers upon receiving
           the initial translation to the translation company asking for a "request revision" or
           similar option.

    As discussed above, discovery has long been closed and the parties have been Ordered to
    prepare for trial as per the existing schedule. As per above, we consider this issue
    resolved. If you disagree, please explain your legal basis for requesting more information.
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    McGeary Cukor LLC                                                   Mr. Michael Warshaw
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    The Scheduling Order requires that the parties file a joint statement of the case by March
    31. We will send you a proposal on March 19 for you to review and edit and return by
    March 26. If that time frame does not work for you, please propose another time frame
    that will. Since we are preparing for trial, we will not be able to work on the joint
    statement of the case with you after March 26.

    Lastly, as we explained on March 5, we will not agree to any delay of the trial so please
    do not ask us to consent to any extension.


                                                 Respectfully,



                                                 Michael Cukor
